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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


HUNT CONSTRUCTION GROUP, INC.,                              )
  an Indiana corporation,                                   )
                                                            )
       Plaintiff/Counter-Defendant,                         )       Case No. 1:CV-17-215-LY
                                                            )
       v.                                                   )
                                                            )
COBB MECHANICAL CONTRACTORS, INC.,                          )       Honorable Lee Yeakel
  a Colorado corporation,                                   )
                                                            )
and                                                         )
                                                            )
LIBERTY MUTUAL INSURANCE COMPANY,                           )
   a Massachusetts corporation,                             )
                                                            )
       Defendants/Counter-Plaintiffs.                       )


  PLAINTIFF’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS COUNT II OF
  DEFENDANT LIBERTY MUTUAL INSURANCE COMPANY’S COUNTERCLAIM

       Plaintiff Hunt Construction Group, Inc. (“Hunt”) respectfully submits this Reply in

Support of its Motion to Dismiss Count II of the Counterclaim filed by Defendant Liberty

Mutual Insurance Company (“Liberty”).

       1.      In its Response, Liberty does not dispute clear federal law that its declaratory

judgment counterclaim must be dismissed to the extent that it mirrors the affirmative defenses it

has alleged in response to Hunt’s claims. Indeed, Liberty does not even suggest that resolution

of its declaratory judgment counterclaim will require the determination of any factual issues that

its affirmative defenses do not already place in dispute. And Liberty does not dispute, nor can it,

that most of the language of its declaratory judgment counterclaim is taken verbatim from its

affirmative defenses.
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       2.      Liberty instead argues that its declaratory judgment counterclaim seeks additional

relief not present in its affirmative defenses.       Liberty asserts that its declaratory judgment

counterclaim seeks a declaration that the entire Bond is “null and void,” whereas its affirmative

defenses relate only to the Bond claims Hunt has made against Liberty to date.

       3.      If that were indeed the sole basis for the declaratory judgment counterclaim,

Liberty’s position might have some plausibility. But the argument ignores what the counterclaim

actually says and mischaracterizes Liberty’s own pleading.

       4.      Liberty’s declaratory judgment counterclaim does not seek a single declaration

that the Bond is “null and void.” Rather, it asks the Court to make five distinct declarations:

               a. The Bond is null & void, and the Surety is discharged of any duty on
                  the Bond, because of the material breaches by Hunt;
               b. Alternatively, the Surety’s obligations under the Bond are discharged
                  to the extent of the breaches by Hunt and the resulting damages;
               c. Hunt failed to give adequate notice and adequate opportunity to cure
                  the alleged issues;
               d. Hunt’s improper unilateral completion with Brandt does not constitute
                  ‘reasonable costs’ as required by the terms of the performance bond;
               e. The Surety is exoneration from any obligations under the Bond
                  because of Hunt’s material alterations of the bonded contract.

(ECF Dkt. No. 13 at 11-12, ¶ 113.)

       5.      Plainly, only Declaration (a) seeks a finding that the Bond is “null & void.” To be

sure, Declaration (a) raises no new questions of fact that would not already be determined in the

course of resolving the affirmative defenses. Whatever alleged “material breaches by Hunt”

Liberty might allege as rendering the Bond null and void must have occurred already, and

Liberty does not allege any new or different material breaches apart from those it alleges in its

affirmative defenses – including “Hunt’s own prior material breach” and “discharge” – the same

relief contemplated in Declaration (a).

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       6.      The premise of Liberty’s argument that the Bond is “null and void” is flawed

under both the terms of the Bond and the law, and it will be addressed in a forthcoming

dispositive motion.     But based on Liberty’s representation that its declaratory judgment

counterclaim seeks to declare the Bond null and void with respect to any future Bond claims

Hunt might make, then in reliance upon that representation, and for purposes of this motion only,

Declaration (a), and only Declaration (a) can survive dismissal.

       7.      Liberty’s Response does not offer any defense of Declarations (b) through (e),

and thus concedes they cannot survive. As Hunt’s motion established, those four declarations

are copied directly from Liberty’s affirmative defenses and claim for breach of contract. Those

four declarations do not ask the Court to declare the Bond “null & void,” which is the only

defense Liberty has offered in response to Hunt’s motion. The other four declarations are

precisely the type of duplicative requests for declaratory relief that courts do not permit under the

Declaratory Judgment Act, and Liberty should therefore have no objection to their dismissal.

                                         CONCLUSION

       8.      Based on Liberty’s own characterization of the relief it seeks by way of its

declaratory judgment counterclaim, Hunt withdraws its motion to dismiss with respect to

Declaration (a) only. The separate and alternative Declarations (b), (c), (d), and (e) should be

dismissed as duplicating the relief already stated in Liberty’s affirmative defenses.



Dated: May 10, 2017




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                                    Respectfully submitted,

                                    PILLSBURY WINTHROP SHAW PITTMAN LLP
                                    By: /s/ Casey Low
                                          Casey Low
                                          401 Congress Avenue
                                          Suite 1700
                                          Austin, Texas 78701
                                          (512) 580-9616
                                          Casey.Low@pillsburylaw.com

                                          Steven G.M. Stein (admitted pro hac vice)
                                          C. Steven Tomashefsky (admitted pro hac vice)
                                          STEIN RAY LLP
                                          222 West Adams St.
                                          Suite 1800
                                          Chicago, Illinois 60606
                                          (312) 641-3700
                                          sstein@steinraylaw.com
                                          stomashefsky@steinraylaw.com

                                          ATTORNEYS FOR PLAINTIFF
                                          HUNT CONSTRUCTION GROUP, INC.


                               CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2017, I electronically submitted a true and correct copy
of the above with the clerk of court for the U.S. District Court, Western District of Texas. I
hereby certify that I have served all parties of record below in a manner authorized by Federal
Rule of Civil Procedure 5(b)(2).

                                               /s/ Casey Low
                                               Casey Low


Michael L. Burnett
GREENBURG TRAURIG, LLC
1000 Louisiana Street, Suite 1799
Houston, TX 77002
burnetm@gtlaw.com

ATTORNEY FOR DEFENDANT
COBB MECHANICAL CONTRACTORS, INC.



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Keith A. Langley
LANGLEY, LLP
1301 Solana Blvd., Bldg. 1, Suite 1545
Westlake, TX 76262
klangley@l-llp.com

ATTORNEY FOR LIBERTY MUTUAL
INSURANCE COMPANY




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